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              Exhibit 41
REDACTED VERSION OF DOCUMENT SOUGHT TO BE FILED UNDER SEAL
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HIGHLY CONFIDENTIAL—ATTORNEYS EYES ONLY




March 7, 2022


VIA JAMS ACCESS

Special Master Daniel B. Garrie
DGarrie@jamsadr.com

Re:    In re Facebook Consumer Privacy User Profile Litigation, JAMS Ref No.
       1200058674

Dear Special Master Garrie,

        Pursuant to the Hearing Order Regarding Plaintiffs’ Motion To Compel Production of
Plaintiff Data dated February 21, 2022, we submit this response on behalf of Facebook. We
also thank the Special Master for granting an extension of our time to respond to allow us to
provide responses that we believe would assist the Special Master in expediting resolution of
the issue set forth by Judge Corley in her January 12, 2022 order: “[W]hat, if any, data from
[systems other than DYI] should be produced consistent with Federal Rule of Civil
Procedure 26(b).”
I.     USER DATA IN DYI

         The Special Master’s first two questions seek information about what user data is
included in DYI. We welcome the opportunity to address that issue to correct and clarify
statements made throughout these proceedings which seem to have created the impression
that the DYI system is limited to the first category of “discoverable user data” identified by
Judge Corley in Discovery Order No. 9. As explained below, the DYI system includes all
three categories of data: (1) data collected from a user’s on-platform activity, (2) data
obtained from third parties regarding a user’s off-platform activities, and (3) data inferred
from a user’s on or off-platform activity. So the issue is whether Facebook should produce
more data in categories (1), (2), and (3) from systems other than DYI, which we understand
is the focus of the Special Master’s remaining questions.
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Question #1. Engineer documentation for the process of generating the DYI file for a
Facebook user, including data flow diagrams that explain how the data is retrieved, data
schemas, and the individual fields for each data type in the schema.

       The following DYI engineer documentation is attached as Exhibit A.

       ●       Your Information Schema (DYI). This schema describes each of the
categories and types of data included in DYI.
        ●       Eng Guide: Adding to DYI Wiki. This document provides step-by-step
instructions for engineers from product teams to add data to DYI, including instructions
regarding where data should live in the DYI taxonomy and DYI schema fields.

Question #2. A statement clarifying whether information available via the DYI tool
“includes user data provided by third parties to Facebook, e.g., data relating to users’ off
platform activity.”

        Yes, DYI includes user data provided by third parties to Facebook, which is the
second category of “discoverable user data” identified by Judge Corley in Discovery Order
No. 9. Since this data is stored as raw logs of event data in Facebook’s data warehouse,
Facebook had to build data pipelines from the data warehouse to production to (a) aggregate
and group this event level data on a per user basis sorted in chronological order and (b)
transform raw logs of event data in the data warehouse into a human readable information.
This effort required complex and time-extensive engineering efforts.

         This question from the Special Master highlights a broader factual issue, which we
believe should be clarified to assist the Special Master in resolving the issue before him. In
Discovery Order No. 9, Judge Corley identified the following categories of “discoverable
user data”: (1) data collected from a user’s on-platform activity, (2) data obtained from third
parties regarding a user’s off-platform activities, and (3) data inferred from a user’s on or off-
platform activity. Plaintiffs repeatedly have asserted that DYI contains only data in category
(1), citing a statement by Facebook’s counsel during a status conference before Judge
Corley.1 In fact, the full exchange with Judge Corley makes clear that Facebook’s counsel
was explaining that the DYI tool does not contain all data in categories (1), (2) and (3),
which is further demonstrated by the answer to this question confirming that DYI includes
1
 Pls’ Sept. 28, 2020 Mot. Compel at 7, Dkt. 526; Pls’ Oct. 18, 2021 Mot. Compel
Production of Named Pls’ Content And Information at 3.
                                                                     (Cont’d on next page)
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data in category (2). Plaintiffs also have cited documents produced by Facebook that they
claim prove Facebook’s production is limited to only data in category (1), most notably, a
document referring to “Native Data,” “Appended Data,” and “Behavioral Data.”2 Again, this
is incorrect. Exhibit B attaches the primary document Plaintiffs cite for this assertion and a
table that describes how the Native, Appended, and Behavioral Data described in that
document is either included in DYI or relates to features that were deprecated before this
case was filed.

       For completeness, we explain below the data in categories (1), (2), and (3) that are
included in DYI, and attach as Exhibit C summaries of the data that has been produced for
each of the named plaintiffs.

Category (1): Data collected from on-platform activity. DYI includes data provided by
users and data observed by Facebook on the platform.

       User-provided data includes profile data, user-generated content (e.g., posts, videos,
photos, comments, stories), message content, friends, location check-ins, linked accounts in
the Facebook family of products, and language choices.

        Observed data includes clicks, profiles, Pages, Groups, and Events a user has visited,
usage data, device data, networks and connections, data about user’s activity level,
advertisers with which the user has interacted, pages (user pages, pages a user liked or
recommended, pages a user follows, pages a user has unfollowed), IP address when sending
a message, users that a user has chosen to “see less” or “see first” in News Feed, time spent
watching from a page, people whose profile a user has visited, last location, last active time,
whether a user viewed someone’s birthday story, people a user blocked on Messenger, page
notifications, pages a user recommended, time zone, email address verification, Marketplace
notifications, and interactions.

Category (2): Data collected from off-platform activity. DYI includes information
provided to Facebook by third-party advertisers, app developers, and publishers about user
interactions.

       User interactions are things like opening a third-party developer app that integrates
Facebook business tools, and visiting websites that integrate the Facebook business tools
providing information about the user viewing content, searching for items, adding an item to
a shopping cart, or making a purchase. Third parties share this off-platform activity with
Facebook using “business tools,” which are technologies designed to help website owners

2
    Pls’ Sept. 28, 2020 Mot. Compel at 8, Dkt. 526.
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and publishers, app developers, advertisers, and others, integrate with Facebook, understand
and measure their products and services, and better reach and serve people who use or might
be interested in their products and services. Business tools include Facebook Pixel,
Facebook SDK, Conversions API, Offline Conversions, and the App Events API. Facebook
also receives impression data through Facebook Social Plugins (e.g., Like and Share buttons)
and Facebook Login.

         Facebook also receives contact lists with user information uploaded by advertisers for
the purpose of serving ads to those users through what are referred to as custom audiences.
These lists include hashed information about users (e.g., email addresses, phone numbers)
that is used to try to match people on the list with Facebook user accounts; matched users are
placed in the custom audience. This hashed information is discarded after the matching
process.

Category (3): Data inferred from a user’s on or off-platform activity. DYI includes data
that is derived from a user’s on or off-platform activity.

        DYI includes information regarding ads interests; music recommendations based on
genres of music a user has interacted with on Facebook; “your topics,” which is a collection
of topics determined by a user’s activity on Facebook that is used to create recommendations
for users in different areas of Facebook such as News Feed, News, and Watch; primary
location; primary public location; friend peer group; creator badges (including labels like
“visual storyteller” or “conversation starter” based on activity in Groups); time zone;
language preferences (including preferred language for videos, languages you may know,
preferred language); and mobile service provider and country code.

Plaintiffs’ DYI Data. Summaries of the DYI files for each named plaintiff showing that
they include all three categories of “discoverable user data” identified in Discovery Order
No. 9 are attached as Exhibit C.
II.    OTHER USER DATA AND SYSTEMS

        The Special Master’s remaining questions focus on understanding what other systems
contain user data and, as Judge Corley stated the issue, “what, if any, additional data should
be produced consistent with Federal Rule of Civil Procedure 26(b).” To be sure, the DYI file
does not include all data related to users, but that does not mean that production of that data
is consistent with Rule 26. For example, as explained above, DYI includes data received
from third parties regarding a user’s off-platform activity on apps and websites, such as
viewing content and adding an item to a shopping cart, but does not include data identifying
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the specific content that was viewed or the item that was added to a cart for reasons that
engineers will be prepared to explain at the hearing.

Question #3: A statement identifying systems that coordinate and schedule jobs that run
against the Hive (a process that accesses table data in the Hive and aggregates user data to
produce a meaningful data set). For each job that may involve user data, Facebook is to
describe the data extracted in the job and where the job saves the data.

       The majority of batch data processing of Hive data at Meta is handled by a system
called Dataswarm, which is described below. The remaining minority of batch data
processing is coordinated by FBLearner, which is a similar system derived from Dataswarm.

        Dataswarm works by having employees (1) define atoms of computation called tasks
and then having employees (2) explicitly state the dependency relationships between these
tasks so that the system can initiate a task’s computations after the preceding tasks have
completed their execution. These tasks are treated as black boxes: the system knows
nothing about what the task does beyond the rough type of computation performed. For any
given task, Dataswarm does not know what data is used as inputs to the computations it
orchestrates or what data is produced as outputs by these computations.

        Facebook’s current approach for identifying what data is consumed as inputs by a job
and is generated as outputs by that job is a time-consuming manual process. Because
Dataswarm performs millions of tasks each day, it is not possible to complete this manual
process for all Dataswarm tasks. To respond to the Special Master’s request, Facebook
completed this manual process for a sample of 10 tasks run in Dataswarm on February 15,
2022. This sample is attached Exhibit D. Approximately five million Dataswarm tasks
were run on February 15.

Question #4: A statement identifying the internal identifiers Facebook uses to track users
across the Facebook platform, including a description of which Facebook systems use each
identifier, how each system uses each identifier, and how Facebook maps identifiers to users.

        Facebook primarily uses four types of internal identifiers for user data: (1) a user
identifier (UserID), (2) Replacement ID, (3) Separable ID, and (4) App Scoped Identifiers.
Each is described in more detail below.

       UserID. Facebook uses an industry-wide technique called pseudonymization to
represent users on the Facebook platform. In essence Facebook creates a canonical unique
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identifier that encapsulates information about the user (such as First Name, Last Name,
email, phone numbers, etc). The encapsulation can be accessed by an identifier called a user
identifier (or UserID); this is similar to a row being stored in a database table with the
primary key being the userid and information of the user being values in the other columns.
UserIDs are unique in Facebook’s systems, such that two users cannot have the same
UserID, and they are not recycled, meaning even after a user deletes their account, no other
user can have the same UserID. The User ID is the canonical identifier to represent a
Facebook user and is used in nearly all Facebook systems.

         Replacement ID (RID). The RID is an identifier that supports Facebook’s deletion
practices by irreversibly disassociating data from a user. Every user is assigned an RID for
the lifetime of their account. In data systems that do not support deletion (e.g. Hive), any
user data retained for more than 90 days can only be retained with an RID. When a user
deletes her account, Facebook deletes the record connecting the UserID to the RID so that
data stored with that RID can no longer be connected to that user. Like the UserID, the RID
represents a single user. Two users cannot have the same RID, and RIDs are not recycled.


        Separable ID (SID). The SID is similar to the RID, but allows Facebook to
permanently disassociate Off Facebook Activity data from a user. Data Facebook receives
from third parties about a user is associated with an SID (rather than UserID), and Facebook
maintains a separate mapping between SIDs and UserIDs that can be accessed when data is
processed. Through Facebook’s Off Facebook Activity tool, users are able to clear their Off
Facebook Activity. When a user does this, Facebook removes the mapping between the
users’ SID and UserID, which irreversibly dissociates the data stored with an SID from the
user. Facebook then generates a new SID to be associated with the user’s account moving
forward.                           More information about SID’s is available at this link:
https://engineering.fb.com/2019/08/20/data-infrastructure/off-facebook-activity/

        App-Scoped ID (ASID). The ASID is an identifier that is sent to the third-party
developer when a Facebook user has chosen to use the Facebook Login product to login to
the services of the third-party developer. The App-Scoped ID also serves as a privacy
protective identifier that Facebook created with the purpose of preventing different third-
party apps from sharing data or amassing profiles of users across apps. This is why the App
Scoped ID is created on a per-user per-app basis, such that different third-party developers
do not receive the same identifier for the same Facebook user.                             .
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Question #5: A statement identifying the sources from which Graph API pulls user data,
including a high-level description of each source and the engineers that own each source.

        TAO. The Facebook production infrastructure is centralized around a distributed
data store for the social graph, called TAO (The Associations and Objects), which is the
primary source from which Graph API pulls data (including user data). TAO is a high-
performance service for storing, caching, and querying the graph for nodes and associations,
by providing a clean interface for internal and external developers to integrate into the social
graph, abstracting away many of the complexities of developing and maintaining a data
storage at scale.

       ● For more information about TAO: https://engineering.fb.com/2013/06/25/core-
         data/tao-the-power-of-the-graph/
       ● Technical Point of Contact:

TAO provides a layer of abstraction to describe objects and relations through EntSchema and
Node. The underlying technology that is used to store these data models is a collection of
technologies such as MySQL, Manifold, ZippyDB/Akkio, Memcache, and Laser. In limited
cases, and for specific purposes, other systems may access these systems directly.

         MySQL: MySQL is TAO’s backbone. It provides transactional and availability
properties to columnar data. For example, a user’s comment can be stored in a MySQL
database as a row in a table, where the comment id is the primary key and the comment is a
text field. As another example, the fact that someone liked a comment can be represented by
an association with the type like from the comment id and the user id, this could be
represented as 3 columns in the table, with comment id, user id, and type of reaction.

       ● Technical Point of Contact:




       ● Technical Points of Contact:
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        ZippyDB/Akkio: ZippyDB is a persistent key-value storage service that provides
reliable, scalable, geo-replicated storage for high throughput applications. ZippyDB
provides very efficient key value lookups, faster than MySQL but are not transactional in
nature. Akkio operates on top of storage services like Zippy. Akkio splits the data sets into
units with strong locality, which can then be geographically placed close to where they are
most likely to be accessed.

       ● For more information about ZippyDB/Akkio:
         https://engineering.fb.com/2021/08/06/core-data/zippydb/ (ZippyDB);
         https://engineering.fb.com/2018/10/08/core-data/akkio/ (Akkio).

       ● Technical Points of Contact:             (ZippyDB),
                       Akkio)

       Memcache: Memcache provides a cache to the TAO service, the cache ensures that
queries that have recently run are available quickly through the cache, as the response time of
a cache are orders of magnitude quicker than a lookup in a MySQL database.

       ● Technical Point of Contact:
        Laser: Laser is an indexing service that provides low-latency (typically a few
milliseconds) read access to specific sets of Data Warehouse data. Data in the Data
Warehouse is not indexed on a per user basis, but some Facebook products need to surface
the calculations that the product performs to the production systems so a GraphAPI can
request the data. Laser is only used to support first-party (i.e. Meta) products.
       ● Technical Point of Contact:

       There are other technologies that keep TAO operational that ensure the service is
performing at a high-performance.

Question #6: Any agreements relating to user data that Facebook has with each of the
following entities:     Microsoft, and

        Facebook will submit via email to the Special Master and Plaintiffs contracts relating
to user data with        Microsoft, and           that have been produced in this case.
Facebook will separately submit to the Special Master contracts with these entities that have
not been produced to date in camera, to provide Facebook an opportunity to fully analyze
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and comply with any notice provisions in these agreements. Once Facebook has completed
this analysis and complied with any notice provisions, Facebook will produce the contracts to
Plaintiffs, consistent with Facebook’s agreement to search for additional contracts Plaintiffs
recently requested.

        Facebook notes that Meta Platforms, Inc.,            Microsoft, and          are some
of the largest technology companies in the world. These entities are parties to a very large
number of agreements, the vast majority of which are confidential business agreements and
outside the scope of this litigation. Should Facebook identify additional agreements with
these entities that are responsive to the Special Master’s request, Facebook will provide
them.

Question #7: Update list of 149 systems identified in the Declaration of David Pope.

       In discussing the topics and questions to be addressed during the hearing on
Wednesday, March 9, 2002, the engineers who will be attending the hearing have explained
to counsel that the list of 149 systems and categorization discussed during the hearing with
David Pope on January 14, 2002, are not an effective way of assisting the Special Master in
understanding the user data that exists in Facebook systems. Instead, they approach this
question from the perspective of a Facebook engineer building product experiences or
conducting data analysis who think of user data in terms of production systems and the data
warehouse. As these engineers will explain at the hearing,




Sincerely,



Rosemarie T. Ring
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                     EXHIBIT A
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                                                         YFISchemaTool

                          1
                   2
                                                 Your Facebook Information (YFI) Schema                          Normal Mode       Developer Mode

        DYI
                                                  Filter           Section Data Categories                                          Deselect All
      Status
                                                  Platform
                                                                      Your activity across     Personal         Friends and        Logged
      Generate                                         Facebook       Facebook                 information      followers          information
                                                       Instagram      Security and login       Apps and websites off                  Ads
      Schema                                                                                                              Preferences
                                                                      information              of Facebook                            information
                                                       Whatsapp
      Stuck Jobs
                                                  Product Type
      Switchboard                                                  Section Schemas                                                  Collapse All
                                                       ALL

      Ownership                                        AYI         Your activity across Facebook                                         37

                                                       DYI
                                                                     Menu
                                                       In both
                                                                     Menu
                                                       AYI and
                                                       DYI             Content previews (Oncall: pacman)
                                                       In AYI          Content previews you have provided feedback on
                                                       Only
                                                                     Bulletin
                                                       In DYI
                                                                     Information about your Bulletin account
                                                       Only

                                                                       Your account creation date (Oncall: voices)
                                                   Submit                                                                           DYI Only
                                                                       The date you created your Bulletin account

                                                                       Subscriptions (Oncall: bulletin_monetization)
                                                                       Publications you've subscribed to or have shown intent in subscribing
                                                  Summary              to on Bulletin.
                                                  Total      68
                                                  Section              Subscriptions and                  (Oncall:
                                                  s                    subscription intents               bulletin_monetization)
                                                                                                                                    DYI Only
                                                                       Publications you've subscribed to or have shown intent in
                                                  Total      296
                                                                       subscribing to on Bulletin.
                                                  Fields

                                                                       Publication settings (Oncall: voices)
                                                    Downloa…
                                                                       Settings associated with your publication


                                                                       Articles (Oncall: voices)
                                                                       Articles you've published on Bulletin

                                                                       Pre-published articles (Oncall: voices)
                                                                       Pre-published articles you've drafted on Bulletin


                                                                       Podcast settings (Oncall: voices)
                                                                       Settings associated with your podcast


                                                                       Podcasts (Oncall: voices)
                                                                       Podcasts you've set up on Bulletin

                                                                       Pre-published podcasts (Oncall: voices)
                                                                       Pre-published podcasts you've set up on Bulletin


                                                                     Campus
                                                                     Your campus activity and data.

                                                                       Campus Profile Information (Oncall: colleges)
                                                                       Information you've added to your Campus profile


                                                                       Campus Email Info (Oncall: colleges)
                                                                       Your college email information provided for Campus           DYI Only
                                                                       verification

                                                                       Campus Class Ratings (Oncall: colleges)
                                                                       Class Ratings you have created


                                                                     Voting location and reminders

https://www.internalfb.com/support/dyi/schema/                                                                                                      1/18
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                                                         YFISchemaTool

                          1                           Location and preferences in Town Hall and the Voting Information
                   2
                                                      Center
                                                        Location (Oncall: civic_action)
        DYI                                             The location used to provide you with local election and government
                                                        information. This may be your primary location
      Status
                                                        Voting reminders (Oncall: civic_action)
      Generate                                          Your preferences for notifications from Facebook about voting and
                                                        elections
      Schema
                                                      Communities
      Stuck Jobs                                      Communities you manage, Communities you belong to and your
                                                      posts and comments within them
      Switchboard
                                                        Your Communities (Oncall: community_presence)
      Ownership                                         Communities you belong to


                                                        Your Pending Posts in             (Oncall:
                                                                                                                     DYI Only
                                                        Communities                       community_presence)


                                                        Your Posts in Communities (Oncall: community_presence)
                                                        Posts you make in the communities you belong to


                                                        Your Comments in Communities (Oncall: community_presence)
                                                        Comments you make in the communities you belong to


                                                        Your Community Connection             (Oncall:
                                                        Activity                              community_presence)
                                                        Dates you became a part of the Communities you belong to


                                                        Your Answers to                   (Oncall:
                                                        Participation Questions           community_presence
                                                                                          )                          DYI Only
                                                        Information you’ve shared with community
                                                        administrators


                                                      Events
                                                      Your responses to events and a list of the events you've created

                                                        Your Events (Oncall: events)
                                                        Events you've created


                                                        Your event responses (Oncall: events)
                                                        Your responses to Events you've been invited to


                                                        Event invitations (Oncall: events)
                                                        Events you've been invited to


                                                        Event Contact You've Blocked (Oncall: events)
                                                                                                                     DYI Only
                                                        People you've blocked from inviting you to events


                                                        Events (Oncall: events)
                                                                                                                     DYI Only
                                                        Events you've created for your Page


                                                        Events ratings you've submitted (Oncall: rpp_event_reviews)
                                                        Ratings you've submitted about events and classes


                                                      Dating
                                                      Your separate Dating profile, preferences and messages for Dating

                                                        Your Dating profile (Oncall: profile_dating_backend)
                                                        Information and photos you've added to your Dating profile


                                                        Your Dating preferences (Oncall: profile_dating_backend)
                                                        Preferences you've expressed relating to age, gender and distance of
                                                        potential matches


                                                        Messages (Oncall: profile_dating_backend)
                                                        Messages you've exchanged with other people in Dating


                                                        Communities (Oncall: profile_dating_backend)

https://www.internalfb.com/support/dyi/schema/                                                                                  2/18
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                                                         YFISchemaTool

                          1                             Groups and events where you requested to see suggested matches in
                   2
                                                        Dating

        DYI
                                                        Shared interests (Oncall: profile_dating_backend)
                                                        Mutual interests used to suggest new matches in Dating
      Status
                                                        Secret Crush (Oncall: profile_dating_backend)
      Generate                                          Facebook friends who you've liked in Dating

      Schema                                            Your Dating activity (Oncall: profile_dating_backend)
                                                        Activity associated with your Dating profile, such as number of people
      Stuck Jobs                                        you've liked

      Switchboard
                                                      Facebook Gaming
                                                      Your Facebook Gaming profile and games you've played
      Ownership
                                                        Gaming Profile (Oncall: gaming_services)
                                                        Your Facebook Gaming profile information


                                                        Instant Games (Oncall: gaming_play_platform)
                                                                                                                    DYI Only
                                                        Games you've played


                                                        Chat Rules (Oncall: gaming_video)
                                                                                                                    DYI Only
                                                        Chat Rules you've accepted


                                                        Games (Oncall: gaming_services)
                                                        Games you've used Facebook Gaming to log into


                                                      Facebook Marketplace
                                                      Items you've sold, your commerce profile and seller information

                                                        Commerce             (Oncall:
                                                                                                                    DYI Only
                                                        leads                marketplace_seller_success)


                                                        Items sold (Oncall: commerce_prod_infra)
                                                        Items you've sold on Marketplace


                                                        Listings (Oncall: marketplace_seller_success)               DYI Only


                                                        Seller response (Oncall: commerce_ratings_and_reviews)
                                                        Response you have given to a seller review


                                                        Buyer and seller        (Oncall:
                                                        ratings                 commerce_ratings_and_reviews)       DYI Only
                                                        Buyers and sellers you've rated on Marketplace


                                                        Your dealership business             (Oncall:
                                                        information                          marketplace_seller_success)
                                                        Business information you provided on Marketplace to be associated
                                                        with vehicle listings



                                                        Marketplace              (Oncall:
                                                        Notifications            commerce_growth_intelligence)
                                                                                                                    DYI Only
                                                        Information about notifications you've received from
                                                        Marketplace

                                                        Discussions (Oncall: commerce_engagement)
                                                        Posts you've made on Marketplace discussions.


                                                        Seller information (Oncall: marketplace_seller_activation)
                                                        You provided the following information in order to sell on Marketplace.


                                                      Fantasy Games
                                                      Picks you've made in public Facebook Fantasy Games or private
                                                      Facebook Fantasy Leagues

                                                        Picks (Oncall: fantasy_games)
                                                        Picks you've made in public Facebook Fantasy Games or private
                                                        Facebook Fantasy Leagues


https://www.internalfb.com/support/dyi/schema/                                                                                    3/18
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                                                         YFISchemaTool

                          1                           Fundraisers
                   2
                                                      Fundraisers you've created, joined or donated to

        DYI                                             Fundraisers            (Oncall:
                                                                                                                   DYI Only
                                                        created                social_good_charitable_giving)

      Status
                                                        Fundraisers             (Oncall:
                                                                                                                   DYI Only
      Generate                                          donated to              social_good_charitable_giving)


      Schema                                            Fundraisers          (Oncall:
                                                                                                                   DYI Only
                                                        joined               social_good_charitable_giving)
      Stuck Jobs
                                                      Groups
      Switchboard                                     Groups you belong to, groups you manage and your posts and
                                                      comments within the groups you belong to
      Ownership
                                                        Your Groups (Oncall: groups_admins)
                                                        Groups you belong to


                                                        Your Group membership activity (Oncall: groups_platform)
                                                        Dates you joined the groups you belong to


                                                        Creator Badges (Oncall: user_signals_engineering)
                                                                                                                   DYI Only
                                                        Badges you've earned


                                                        Prayer (Oncall: group_faith)                               DYI Only


                                                        Your posts in Groups (Oncall: group_posts)
                                                        Posts you make in the groups you belong to


                                                        Your group member profiles (Oncall: contextual_profile_web)
                                                        Information about customized profiles in Groups


                                                        Your Services (Oncall: independent_work)
                                                        Services you can offer people in groups


                                                        Your group messages (Oncall: chats_in_groups_fb)           DYI Only


                                                        Your group membership           (Oncall:
                                                                                                                   DYI Only
                                                        activity                        groups_experts_www)


                                                        Your pending posts in groups (Oncall: group_posts)         DYI Only


                                                        Groups by this Page (Oncall: groups_experts_www)           DYI Only


                                                        Group Expert            (Oncall:
                                                        Application             groups_experts_discovery_www)
                                                                                                                   DYI Only
                                                        Information about your expertise that group admins can
                                                        see


                                                        Your answers to membership            (Oncall:
                                                        questions                             groups_admins)
                                                                                                                   DYI Only
                                                        Information you’ve shared with private group
                                                        administrators


                                                        Your answers to participation         (Oncall:
                                                        questions                             groups_admins)
                                                                                                                   DYI Only
                                                        Information you’ve shared with public group
                                                        administrators


                                                        Your group admin actions (Oncall: groups_admins)
                                                                                                                   DYI Only
                                                        Group admin actions that you've taken


                                                        Your group interests (Oncall: ceg_product)
                                                                                                                   DYI Only
                                                        Group topics you said you're interested in


                                                        Awards you've given (Oncall: community_reputation)
                                                        Awards you've given to comments from other members in groups you
                                                        belong to

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                   2
                          1                             Your Comments in            (Oncall:
                                                        Groups                      group_comments)                       DYI Only
        DYI                                             Comments in groups you belong to


                                                        Your Greetings in Groups (Oncall: community_comms)
      Status                                            Greetings in groups you belong to

      Generate
                                                        Your group feedback from admins (Oncall: groups_admins)
                                                        Feedback you've received from group admins
      Schema
                                                        Your warnings (Oncall: community_norms)
      Stuck Jobs
                                                        Warnings you've received

      Switchboard
                                                      Jobs
                                                      Job opportunities you've interacted with and your job profile
      Ownership
                                                        Applied jobs (Oncall: job_search)
                                                        A record of jobs you've applied to


                                                        Your Jobs preferences (Oncall: job_search)
                                                        Your job location preferences


                                                        Jobs posted (Oncall: job_search)
                                                        Jobs you've created on Facebook and the application information
                                                        received from them


                                                      Short Videos
                                                      Your activity with short videos on Facebook

                                                        Videos (Oncall: fb_shorts)
                                                        Short videos you've created and shared on Facebook


                                                        Saved audio (Oncall: fb_camera_backend)
                                                        Short videos audio you've saved


                                                        Saved effects (Oncall: fb_shorts)
                                                        Effects from videos you've saved


                                                        Effect search history (Oncall: fb_camera_backend)
                                                        Effects you've searched for


                                                      Comments and reactions
                                                      Comments you've posted and posts and comments you've liked or
                                                      reacted to

                                                        Comments (Oncall: comments_infra)
                                                        Comments you've posted

                                                        Posts and comments (Oncall: facebook_avatars_backend)
                                                        Posts and comments you've liked or reacted to


                                                        Likes on external           (Oncall:
                                                        sites                       open_graph_deprecation)               DYI Only


                                                        Likes and reactions made        (Oncall:
                                                        by your page                    facebook_avatars_backe
                                                                                        nd)                               DYI Only
                                                        List of all posts and comments your page has liked or
                                                        reacted to


                                                      Live Audio Rooms
                                                      A list of your activity as a host, speaker or listener for live audio room
                                                      broadcasts

                                                        Live Audio Rooms (Oncall: live_audio_rooms_www)
                                                        A list of your activity as a host, speaker or listener for live   DYI Only
                                                        audio room broadcasts


                                                      Contacts
                                                      The people your child's connected to on Messenger Kids



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                          1                             Contacts
                                                        People your(Oncall:
                                                                    child is messenger_kids_www_rn    )
                                                                             currently connected with on            DYI Only
                   2
                                                        Messenger Kids

        DYI
                                                        Sent Contact             (Oncall:
                                                        Requests                 messenger_kids_www_rn)
      Status                                                                                                        DYI Only
                                                        Requests you've sent to ask people to connect with your
                                                        child on Messenger Kids
      Generate
                                                        Received Contact           (Oncall:
      Schema                                            Requests                   messenger_kids_www_rn)
                                                                                                                    DYI Only
                                                        Requests from others asking to be your child's contact on
      Stuck Jobs                                        Messenger Kids

      Switchboard                                       Declined Contact            (Oncall:
                                                        Requests                    messenger_kids_www_rn)          DYI Only
      Ownership                                         Contact requests for your child that you've declined


                                                      Profile Information
                                                      Your child's name, photo and other information you've added to the
                                                      Your Info section of your child's app

                                                        Your Child's Profile (Oncall: messenger_kids_www_rn)
                                                        Your child's name, photo and other information you've       DYI Only
                                                        added to the Your Info section of your child's app


                                                      Messages
                                                      Messages you've exchanged with other people on Messenger


                                                        Messenger Stories (Oncall: stories_backend)                 DYI Only


                                                        Ratings (Oncall: rp_msngr_php_incall)
                                                        A list of the quality ratings you've applied to Messenger   DYI Only
                                                        calls


                                                        Your messages (Oncall: messaging_product_infra)
                                                        Messages you've exchanged


                                                        Previously Removed                (Oncall:
                                                                                                                    DYI Only
                                                        Contacts                          messenger_graph)


                                                        Messenger Contacts You've (Oncall:
                                                                                                                    DYI Only
                                                        Blocked                   mwb_self_remediation)


                                                        Secret conversations (Oncall: armadillo_act)                DYI Only


                                                        Secret conversations         (Oncall:
                                                        you've reported              mwb_reporting_enforcement      DYI Only
                                                                                     _support)


                                                        Autofill information (Oncall: messenger_lead_gen)           DYI Only


                                                        Support Messages (Oncall: customer_support_async)
                                                                                                                    DYI Only
                                                        Interactions you've had with Facebook support


                                                        Secret groups (Oncall: whatsapp_user_infra)
                                                                                                                    DYI Only
                                                        Secret conversation groups you're a member of


                                                      Pages
                                                      Your Pages, Pages you've liked or recommended, Pages you follow
                                                      and Pages you've unfollowed

                                                        Your Pages (Oncall: profile_plus)
                                                        Pages you are the admin of


                                                        Pages you've liked (Oncall: pages_core_infra)
                                                        Pages you've liked


                                                        Pages you've                    (Oncall:
                                                        recommended                     ratings_and_reviews)        DYI Only


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                          1
                                                        Pages you've recommended to others
                   2
                                                        Pages you follow (Oncall: pages_core_infra)                 DYI Only
        DYI
                                                        Pages you've unfollowed (Oncall: profile_following)         DYI Only
      Status
                                                      Facebook payments
      Generate                                        A history of payments you've made through Facebook

      Schema                                            Payment history (Oncall: facebook_pay_hub)
                                                        A history of payments you've made through Facebook
      Stuck Jobs
                                                        Payment accounts (Oncall: billing_interfaces)
      Switchboard                                                                                                   DYI Only
                                                        Payment accounts that you control

      Ownership
                                                      Your Places
                                                      A list of places you've created

                                                        Places you've created (Oncall: pages_admin_editing)
                                                        Names of the places you've created, their locations, and the time and
                                                        date you created them


                                                      Podcasts
                                                      Podcasts you've subscribed to

                                                        Podcast subscriptions (Oncall: podcast_oncall)
                                                        Podcasts you've subscribed to


                                                      Polls
                                                      Polls you've created and participated in

                                                        Polls you voted on (Oncall: group_polls)
                                                        Polls you've participated in


                                                      Posts
                                                      Posts you've shared on Facebook, posts that are hidden from your
                                                      timeline and polls you have created

                                                        Your posts (Oncall: posts_infra)
                                                        Photos, videos, text and status updates you've shared on Facebook


                                                        Other people's posts to your timeline (Oncall: posts_infra)
                                                        Posts other people have shared on your timeline


                                                        Your photos (Oncall: photos)
                                                        Photos you've uploaded and shared


                                                        Photos and videos you're tagged in (Oncall: posts_infra)
                                                        Photos and videos you've been tagged in


                                                        Photo effects (Oncall: media_effects_platform)
                                                                                                                    DYI Only
                                                        A list of the photo effects you've used


                                                        Photos posted to other walls (Oncall: photos)               DYI Only


                                                        Your videos (Oncall: videos_pubx)
                                                        Videos you've uploaded and shared


                                                        Videos sent to you (Oncall: videos_pubx)                    DYI Only


                                                        Videos you're tagged in (Oncall: posts_infra)               DYI Only


                                                        Offers (Oncall: apac_nbu_growth)                            DYI Only


                                                        News articles you’ve opened (Oncall: feed_quality)
                                                        News articles you’ve opened on Facebook in the last 30 days


                                                        Items sold (Oncall: marketplace_seller_success)             DYI Only


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                   2
                          1                             Archive (Oncall: content_control)
                                                        Items in your archive

        DYI                                             Trash (Oncall: content_control)
                                                        Items currently in trash
      Status
                                                        Posts Tagged by Others. (Oncall: content_control)               DYI Only
      Generate

      Schema                                            Photos Tagged by Others. (Oncall: content_control)              DYI Only

      Stuck Jobs
                                                        Your uncategorized photos (Oncall: photos)
                                                                                                                        DYI Only
                                                        Other photos you may have uploaded or shared
      Switchboard

      Ownership                                       Reviews
                                                      Reviews you added about businesses and items

                                                        Reviews (Oncall: commerce_trust_and_signals)
                                                        Reviews you added about businesses and items


                                                      Your problem reports
                                                      Information you've provided to report a problem.

                                                        Your problem reports (Oncall: cf_insights)
                                                                                                                        DYI Only
                                                        Information you've provided to report a problem.


                                                      Saved items and collections
                                                      A list of the posts you've saved, and your activity within collections

                                                        Your saved items (Oncall: save_oncall)
                                                                                                                        DYI Only
                                                        Posts, photos and videos you have saved


                                                        Collections (Oncall: save_oncall)
                                                        Collections you've created of posts, photos and videos          DYI Only
                                                        you've saved, and collections you're a part of


                                                        Your local lists (Oncall: socal_www)
                                                                                                                        DYI Only
                                                        Places and events you added to lists


                                                        Your Playlists (Oncall: pmv)
                                                        Playlists you’ve created and the playable media you’ve added to them.


                                                      Shops questions & answers
                                                      Questions you asked about products being sold in Shops and your
                                                      answers to questions asked about products being sold in Shops

                                                        Questions & Answers (Oncall: shops_qa)
                                                        Questions you asked about products being sold in Shops and your
                                                        answers to questions asked about products being sold in Shops


                                                      Shops
                                                      Information about products in your page's shop

                                                        Produc (Oncall:
                                                        ts     connected_commerce_fb_shops_seller_succes
                                                                                                                        DYI Only
                                                                   s)
                                                        List of products added to your page's shop


                                                      Soundbites
                                                      Soundbites you've created and shared

                                                        Your soundbites (Oncall: soundbites)
                                                        Soundbites you've created and shared


                                                      Spark AR
                                                      Spark AR related info such as effects you manage and effects you
                                                      liked.

                                                        Effects you've liked (Oncall: creator_success_www)
                                                                                                                        DYI Only
                                                        A list of effects you've liked on Spark AR Hub


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                          1                             AR Effects (Oncall: ar_publishing)
                   2                                    AR Effects you manage

        DYI                                             Spark AR checklist (Oncall: ar_hub_activation_insights)
                                                        Your complete and incomplete checklist steps
      Status
                                                      Stories
      Generate                                        Photos and videos you've shared to your story


      Schema                                            Archived stories (Oncall: stories_backend)

      Stuck Jobs                                        Story reactions (Oncall: stories_backend)
                                                        Reactions you shared on your friends' stories or            DYI Only
                                                        highlights
      Switchboard

      Ownership                                         Highlights cover photos (Oncall: featured_highlight)
                                                        Custom cover photos that you've uploaded to your story      DYI Only
                                                        highlights.


                                                        Archived stories (Oncall: stories_backend)                  DYI Only


                                                      Volunteering
                                                      Your volunteering preferences and activity

                                                        Volunteering (Oncall: volunteering)
                                                        Your volunteering preferences and activity


                                                        Drives (Oncall: community_help)
                                                        Your activity across Facebook


                                                      Bug Bounty
                                                      Your researcher data from the Bug Bounty program

                                                        Bug Bounty (Oncall: whitehat_eng)
                                                        Your researcher data from the Bug Bounty program


                                                      Workplace
                                                      Description for Workplace

                                                        Reported Content (Oncall: work_integrity)
                                                        An archive of content that has been reported on             DYI Only
                                                        Workplace


                                                      Other activity
                                                      Other information and activity from different areas of Facebook

                                                        Notes (Oncall: knowledge_hub)
                                                        Notes you've created or have been tagged in


                                                        Pokes (Oncall: poke)
                                                        Pokes you've given and received


                                                        Challenges (Oncall: fb_creators_expressions_experiences_www)
                                                        Challenges you've participated in


                                                        Interactive videos (Oncall: gameshows)
                                                        Polls and game shows you've participated in and questions you've
                                                        answered


                                                        Featured           (Oncall:
                                                        likes              pages_consumer_experience_www)           DYI Only
                                                        A list of likes highlighted on your Page


                                                        Rooms joined (Oncall: rp_msngr_php_incall)                  DYI Only


                                                        Badge settings (Oncall: apac_nbu_growth)
                                                                                                                    DYI Only
                                                        Current badge settings for your Page


                                                        Your Facebook Editor              (Oncall:
                                                        responses                         crowdsourcing_agreement)
                                                        Questions you answered within Facebook Editor products

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                          1
                   2                                    Translations (Oncall: i18n_core_data)
                                                        Contributions to community translations
        DYI
                                                        Translation achievements (Oncall: i18n_core_data)
      Status                                            Achievements in community translations


      Generate                                          Your Audio Assets (Oncall: rights_manager)
                                                                                                                       DYI Only
                                                        Audio you've uploaded
      Schema

      Stuck Jobs                                    Personal information                                                     10


      Switchboard                                     Facebook Accounts Center
                                                      Control settings for connected experiences such as logging in and
      Ownership                                       sharing stories and posts across Messenger, the Facebook app and
                                                      Instagram.

                                                        Accounts Center (Oncall: fx_core_infra)
                                                        Control settings for connected experiences such as logging in and
                                                        sharing stories and posts across Messenger, the Facebook app and
                                                        Instagram.


                                                      Facebook Assistant
                                                      Info associated with your Facebook Assistant, such as contact
                                                      pronunciations and relationships

                                                        Your relationships (Oncall: assistant_privacy_integrity)
                                                        View and delete relationships you've set on Portal


                                                        Your Pronunciations (Oncall: assistant_privacy_integrity)
                                                        View and delete pronunciations of names


                                                        Reminders (Oncall: assistant_privacy_integrity)
                                                        View and delete reminders you've set


                                                      Facebook View
                                                      Information about your devices and preferences on Facebook View

                                                        Devices (Oncall: stella_app)
                                                        The serial number for each pair of glasses and                 DYI Only
                                                        associated preferences.


                                                        Your voice interactions with (Oncall:
                                                        Ray-Ban Stories              assistant_privacy_inte
                                                                                                                       DYI Only
                                                                                             grity)
                                                        Voice interactions on Assistant.


                                                      Health professional
                                                      The information you provided to verify your status as a health
                                                      professional

                                                        Your country (Oncall: preventive_health)
                                                        Your selected country of residence and practice


                                                        Your profession type (Oncall: preventive_health)
                                                        The profession you selected


                                                        Your email address (Oncall: preventive_health)
                                                        Your professional email, or email associated with your institution


                                                        Your legal name (Oncall: preventive_health)
                                                        Your legal name shown on official documentation


                                                        Your medical license number (Oncall: preventive_health)
                                                        The medical license number you provided


                                                        Your state of licensure (Oncall: preventive_health)
                                                        The state that issued your license

                                                        Your GMC number (Oncall: preventive_health)

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                          1
                                                        Your unique seven-digit number as assigned by the GMC
                   2

                                                        Your website or CV (Oncall: preventive_health)
        DYI                                             The credentials you provided during the enrollment process


      Status                                            Your medical specialty (Oncall: preventive_health)
                                                        The field of expertise you selected

      Generate
                                                        Your research domain (Oncall: preventive_health)
                                                        The field of expertise you selected
      Schema

      Stuck Jobs                                      Horizon Worlds
                                                      Info associated with Horizon Worlds, such as your avatar, and worlds
      Switchboard                                     you visited, liked, created and collaborated on.


      Ownership                                         Your Horizon Worlds Avatar (Oncall: horizon_avatars)
                                                        Photos of your Horizon Worlds Avatar


                                                        Worlds visited (Oncall: horizon_community)
                                                        Worlds you visited in Horizon Worlds


                                                        World hops Played (Oncall: horizon_progression)
                                                        World Hops you played in Horizon Worlds


                                                        Liked worlds (Oncall: horizon_community)
                                                        Worlds you liked in Horizon Worlds


                                                        Recently nearby people (Oncall: se_people_connections)
                                                        Suggestions based on your activities with others in Horizon Worlds


                                                        Worlds created (Oncall: horizon_community)
                                                        List of worlds you created in Horizon Worlds


                                                        Worlds Collaborated On (Oncall: horizon_community)
                                                        List of worlds you collaborated on in Horizon


                                                        World Progress (Oncall: horizon_progression)
                                                        List of saved progress from worlds you've visited, including high
                                                        scores, levels and more.


                                                        World Leaderboards (Oncall: horizon_progression)
                                                        List of leaderboards from worlds you've visited and have an entry in.


                                                        Your Photos From Horizon Worlds (Oncall: horizon_community)
                                                        Photos you have taken in Horizon Worlds


                                                        Your Posts From Horizon Worlds (Oncall: horizon_community)
                                                        Posts you have created in Horizon Worlds


                                                        Horizon Worlds Goals (Oncall: horizon_community)
                                                        Your goals in Horizon Worlds


                                                        Your Primary Connected Page For                  (Oncall:
                                                        Horizon Worlds                                   horizon_community)
                                                        Posts you have created in Horizon Worlds


                                                        Saved Worlds (Oncall: horizon_community)
                                                        Worlds you saved in Horizon Worlds


                                                      Journalist registration
                                                      The information you provided to verify your status as a journalist

                                                        Your industry role (Oncall: news_credibility)
                                                        Your roles within the news industry you selected during the
                                                        registration process


                                                        Your professional email (Oncall: news_credibility)
                                                        The email address you provided during the registration process


                                                        Your bylines (Oncall: news_credibility)
                                                        Your links to the news stories that list you as an author or contributor


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                          1                             Staff directory (Oncall: news_credibility)
                   2
                                                        The link to your news organization's staff directory

        DYI                                             Additional benefits (Oncall: news_credibility)
                                                        Your blue badge verification status and linked Instagram account for
      Status                                            safety and protections


      Generate                                        Neighborhoods
                                                      Neighborhoods you belong to, Neighborhoods profile data, and your
      Schema                                          posts and comments within the neighborhoods you belong to

      Stuck Jobs                                        Your Neighborhoods profile (Oncall: loco_www)
                                                        Any favorite places, interests and neighborhood you've added to your
      Switchboard                                       Neighborhoods profile


      Ownership                                         Neighborhoods activity (Oncall: loco_www)
                                                        Neighborhoods posts, comments, and reactions

                                                        Your Neighborhoods moderator activity (Oncall: loco_www)
                                                        Any posts you've hidden or dismissed as a moderator


                                                      Other personal information
                                                      Other information you’ve provided

                                                        Your address books (Oncall: growth_contacts)
                                                        Contact information you've added for friends and other people


                                                        Avatars (Oncall: avatar_content)
                                                        Access your Facebook Avatar

                                                        Your reward cards (Oncall: merchant_loyalty)
                                                        Reward cards you own


                                                      Facebook Portal
                                                      Info associated with your Portal, such as favorites and photos on
                                                      Superframe

                                                        Your Portals (Oncall: portal_dyi_ayi)
                                                        Info associated with your Portal, such as favorites and photos on
                                                        Superframe


                                                        Your Portal albums (Oncall: portal_discovery)
                                                        Albums created for your Portal

                                                        Your Portal voice            (Oncall:
                                                        interactions                 assistant_privacy_integrity)     DYI Only
                                                        Voice interactions from your Portal


                                                      Profile information
                                                      Your contact information, information in your profile's About section,
                                                      your life events, hobbies and music

                                                        Autofill information (Oncall: offsite_and_offline_payments_client)
                                                        The addresses, phone numbers and email addresses you've added to
                                                        the Facebook Mobile Browser for automatically completing forms

                                                        Profile information (Oncall: profile_web)
                                                        Your name, birth date, work and education information         DYI Only
                                                        and places you've lived that you've added to your profile

                                                        Page profile                 (Oncall:
                                                        information                  pages_admin_editing)
                                                                                                                      DYI Only
                                                        Your Page's name, website address, categories, contact
                                                        info, location info and Page admins


                                                        Profile update history (Oncall: profile_web)                  DYI Only


                                                        Your Music (Oncall: profile_web)
                                                        Songs you've added to your profile


                                                        Your Hobbies (Oncall: profile_web)

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                          1                             Hobbies you've added to your profile
                   2

                                                        Basic profile (Oncall: work_profile_fields)                 DYI Only
        DYI
                                                        HR profile (Oncall: work_profile_fields)                    DYI Only
      Status

      Generate                                          Jobs (Oncall: job_search)
                                                        Information about job openings listed on your Page          DYI Only
      Schema
                                                        Services (Oncall: fb_appointments)
      Stuck Jobs                                                                                                    DYI Only
                                                        Information about the services listed on your Page.

      Switchboard

      Ownership                                     Friends and followers                                                    1


                                                      Friends and followers
                                                      Your friends on Facebook, friend requests, friends you see more and
                                                      see less, people you follow, and people who follow you

                                                        Friends (Oncall: growth_friending)
                                                        People you are currently connected to


                                                        Friend requests sent (Oncall: growth_friending)
                                                        Requests sent to others to ask them to be friends on Facebook

                                                        Friend requests received (Oncall: growth_friending)
                                                        Requests from others asking you to be friends on Facebook

                                                        Removed friends (Oncall: growth_friending)
                                                        People who you are no longer connected with on Facebook


                                                        Who you follow (Oncall: pages_core_infra)
                                                        People, organizations, or businesses that you choose to see content
                                                        or posts from


                                                        People who follow you (Oncall: profile_following)
                                                        People who follow you

                                                        Friends You See Less (Oncall: profile_web)
                                                        Friends whose activity you've chosen to see less of on      DYI Only
                                                        Facebook

                                                        Friends who rejected your             (Oncall:
                                                        friend request                        growth_friending)     DYI Only
                                                        A list of people who have rejected your friend request

                                                        Friends who removed you (Oncall: growth_friending)
                                                                                                                    DYI Only
                                                        A list of people who have unfriended you


                                                        Rejected friend requests (Oncall: growth_friending)
                                                                                                                    DYI Only
                                                        A list of people you rejected a friend request from



                                                    Logged information                                                      13


                                                      Activity messages
                                                      A history of your interactions messages on Facebook

                                                        General (Oncall: goodwill_mc)
                                                        Messages about your activity you've received from
                                                                                                                    DYI Only
                                                        Facebook, including number of Friends or posts with the
                                                        most reactions

                                                        Events Interactions (Oncall: events)
                                                        The number of times you've recently visited the Events      DYI Only
                                                        section of Facebook

                                                        Group Interactions (Oncall: groups_platform)
                                                        The number of times you've interacted with Groups on        DYI Only

https://www.internalfb.com/support/dyi/schema/                                                                                   13/18
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                                                         YFISchemaTool

                          1                             Facebook
                   2

                                                        People and Friends (Oncall: profile_web)
        DYI                                             People and friends you've interacted with, including           DYI Only
                                                        comments and reactions

      Status
                                                      Bonuses
      Generate                                        Information about bonus opportunities you've participated in

                                                        Bonus opportunities          (Oncall:
      Schema
                                                        you've started               creator_incentive_platfor
                                                                                                                       DYI Only
                                                                                     m)
      Stuck Jobs
                                                        Information about bonus opportunities you've begun

      Switchboard
                                                      Location
      Ownership                                       Information related to your location

                                                        Location history (Oncall: dac_lh_view_data_model)
                                                        A history of precise locations received through your devices

                                                        Primary location (Oncall: home_prediction)
                                                        Your primary location


                                                        Location Services Setting (Oncall: ursa_mobile)                DYI Only


                                                        Location history enabled              (Oncall:
                                                                                                                       DYI Only
                                                        setting                               lh_products)

                                                        Primary public location (Oncall: home_prediction)
                                                        Your primary location based on your public information         DYI Only
                                                        and activity on Facebook

                                                        Last Location (Oncall: current_location)
                                                                                                                       DYI Only
                                                        Your most recent location determined by your device


                                                        Device Location (Oncall: home_prediction)
                                                        The service provider and country code associated with          DYI Only
                                                        your device


                                                        Timezon (Oncall:
                                                        e       growth_registration_confirmation_accounts)
                                                                                                                       DYI Only
                                                        Your timezone as determined by the devices you're using
                                                        to access Facebook


                                                      Other logged information
                                                      Other information that Facebook logs about your activity

                                                        Friend peer group (Oncall: core_dimensions_api)
                                                        Life stage description of your friends on Facebook

                                                        Ads interests (Oncall: ad_preferences)
                                                        Your interests based on your Facebook activity and other actions that
                                                        help us show you relevant ads


                                                      Music recommendations
                                                      Song recommendations on Facebook based on genres of music
                                                      you’ve interacted with.

                                                        Music genres (Oncall: mpx)
                                                                                                                       DYI Only
                                                        Music genres you've interacted with on Facebook


                                                      Facebook News
                                                      Information about your activity and preferences for Facebook News

                                                        Your topics (Oncall: news_compass_product)
                                                                                                                       DYI Only
                                                        Topics you chose to see more of on Facebook News.

                                                        See less topics (Oncall: news_compass_product)
                                                                                                                       DYI Only
                                                        Topics you chose to see less of on Facebook News.

                                                        Your locations (Oncall: news_compass_product)
                                                        Locations you see local news from based on your primary
                                                                                                                       DYI Only
https://www.internalfb.com/support/dyi/schema/                                                                                    14/18
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                                                         YFISchemaTool
                                                                                                                     DYI Only
                          1
                                                        location and individual selections
                   2


                                                        Articles viewed (Oncall: news_compass_product)
        DYI                                             A list of links you opened from News
                                                                                                                     DYI Only


      Status                                            Time spent (Oncall: feed_data_poseidon)
                                                                                                                     DYI Only
                                                        Amount of time you've spent on News
      Generate
                                                        See less like this (Oncall: news_compass_product)
      Schema                                            You chose to see fewer news items like these in Facebook News

      Stuck Jobs                                        See more like this (Oncall: news_compass_product)
                                                        You chose to see more news items like these in Facebook News
      Switchboard
                                                      Notifications
      Ownership                                       A history of your notifications on Facebook


                                                        Notifications (Oncall: onsite_notifications)                 DYI Only


                                                      Observed data
                                                      Data we have observed about you from your Facebook activity

                                                        Things you have seen on         (Oncall:
                                                        Facebook                        task_triage_videos)
                                                                                                                     DYI Only
                                                        Things you have viewed on facebook like profiles, pages,
                                                        videos, events, etc.


                                                        Actions you have taken on        (Oncall:
                                                        Facebook                         task_triage_videos)         DYI Only
                                                        Actions we have observed you performing on Facebook


                                                        Metadata on your facebook        (Oncall:
                                                        usage                            task_triage_videos)         DYI Only
                                                        Things that we have observed from your Facebook usage


                                                      Privacy checkup
                                                      When you last started and finished a Privacy Checkup topic

                                                        Interactions (Oncall: privacy_checkup)
                                                        When you last started and finished a Privacy Checkup topic

                                                        Reminders (Oncall: privacy_checkup)
                                                        When you set up reminders and how often you've chosen to get them


                                                      Your topics
                                                      A collection of topics determined by your activity on Facebook that is
                                                      used to create recommendations for you in different areas of
                                                      Facebook such as News Feed, News and Watch

                                                        Your topics (Oncall: central_interest_graph)
                                                        A collection of topics determined by your activity on Facebook that is
                                                        used to create recommendations for you in different areas of
                                                        Facebook such as News Feed, News and Watch

                                                        Topics you follow (Oncall: central_interest_graph)
                                                                                                                     DYI Only
                                                        Topics you have chosen to follow on Facebook


                                                        Topics you see less (Oncall: central_interest_graph)
                                                        Topics you have chosen to see less on Facebook               DYI Only


                                                      Search
                                                      A history of your searches on Facebook

                                                        Your search history (Oncall: search_product)
                                                        Words, phrases and names you've searched for

                                                        Videos you've searched for (Oncall: search_product)
                                                        Videos you've searched for


                                                        Voice search history (Oncall: assistant_privacy_integrity)
                                                        A history of your voice search recordings and transcriptions on

https://www.internalfb.com/support/dyi/schema/                                                                                   15/18
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                                                         YFISchemaTool

                          1
                                                        Facebook
                   2

                                                      Sharing Alerts
        DYI                                           A history of the alerts you saw when sharing news articles with other
                                                      users on Facebook without opening the article first
      Status
                                                        Sharing alerts (Oncall: feed_quality)
                                                        A history of the alerts you saw when sharing news
      Generate                                                                                                       DYI Only
                                                        articles with other users on Facebook without opening
                                                        the article first
      Schema

      Stuck Jobs                                      Your interactions on Facebook
                                                      A history of your interactions on Facebook
      Switchboard
                                                        Recently Viewed (Oncall: task_triage_videos)
                                                        Items you've recently viewed on Facebook including
      Ownership                                                                                                      DYI Only
                                                        articles, groups, Stories, Marketplace items, Live videos
                                                        and more


                                                        Recently Visited (Oncall: pymk_primary)
                                                        Areas of Facebook you've recently visited including          DYI Only
                                                        people's profiles, Pages, groups and events

                                                        Survey responses (Oncall: bi_ace)
                                                        Surveys you've completed about purchase experiences          DYI Only
                                                        with businesses on Facebook.



                                                    Security and login information                                            1


                                                      Security and login information
                                                      Technical information and logged activity related to your account

                                                        Your Facebook Activity (Oncall:
                                                        History                metrics_platform_time_spen
                                                                                     t)                              DYI Only

                                                        A history of when you've accessed Facebook

                                                        Where You're Logged In (Oncall: account_security_controls)
                                                        Periods of time you've been actively logged into Facebook


                                                        Authorized Logins (Oncall: account_security_controls)
                                                        The computers and mobile phones you've saved to your Facebook
                                                        account


                                                        Logins and          (Oncall:
                                                        Logouts             compromised_accounts_detection_and_measurem
                                                                            ent_infra)
                                                        A history of your logins and logouts on Facebook

                                                        Login           (Oncall:
                                                        protection      compromised_accounts_detection_and_          DYI Only
                                                        data            measurement_infra)


                                                        Account status changes (Oncall: cadm_infra)                  DYI Only


                                                        Account       (Oncall:
                                                        activity      compromised_accounts_detection_and_me          DYI Only
                                                                      asurement_infra)


                                                        Record details (Oncall: integrity_actions)
                                                                                                                     DYI Only
                                                        Details included in some administrative records

                                                        IP address (Oncall:
                                                        activity   compromised_accounts_detection_and_m
                                                                                                                     DYI Only
                                                                      easurement_infra)
                                                        Your recent activity from specific IP addresses

                                                        Browser cookies (Oncall: cadm_infra)
                                                                                                                     DYI Only
                                                        Information from your browser cookies

https://www.internalfb.com/support/dyi/schema/                                                                                    16/18
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                                                         YFISchemaTool

                          1
                   2                                    Email address                    (Oncall:
                                                        verifications                    growth_contacts)             DYI Only
        DYI                                             A history of when you've verified your email address

                                                        Mobile devices (Oncall: app_ads_device_registry)
      Status                                                                                                          DYI Only
                                                        A list of mobile devices you used to log in

      Generate
                                                        Wi-Fi networks (Oncall: fbc_permanet)
                                                        Wi-Fi networks you set up on your mobile device through Facebook
      Schema

      Stuck Jobs
                                                    Apps and websites off of Facebook                                          1
      Switchboard

      Ownership                                       Apps and websites off of Facebook
                                                      Apps you own and activity we receive from apps and websites off of
                                                      Facebook

                                                        Posts from apps and websites (Oncall: platform_api)
                                                        Posts from the apps you've given permission to post on your behalf

                                                        Your apps (Oncall: platform_dev_management)
                                                        Apps you're the admin of


                                                        Your Off-Facebook Activity (Oncall: data_access_and_control)
                                                        Your activity from the businesses and organizations you visit off of
                                                        Facebook


                                                        Apps and websites (Oncall: platform_login)
                                                        Apps and websites you’ve connected to your Facebook account

                                                        Your news subscriptions (Oncall: news_publisher_value_backend)
                                                        News accounts that you can use to browse and read news articles on
                                                        Facebook



                                                    Preferences                                                                3


                                                      Facebook settings
                                                      Your settings for things like privacy and language, and Pages
                                                      templates and tabs information for any Pages you have

                                                        Settings (Oncall: privacy_control_infra)
                                                                                                                      DYI Only
                                                        Your settings


                                                        Page            (Oncall:
                                                        settings        pages_consumer_experience_www)                DYI Only
                                                        Current settings for your Page


                                                        Current template (Oncall: pages_core_infra)
                                                        Information about the template currently active on your       DYI Only
                                                        page


                                                        Tabs (Oncall: pages_consumer_experience_www)
                                                                                                                      DYI Only
                                                        Information about the tabs currently active in your page


                                                      News Feed
                                                      Actions you've taken to customize your News Feed

                                                        News Feed (Oncall: profile_web)
                                                        Profiles and Pages you've chosen to see more or less of
                                                                                                                      DYI Only
                                                        in your News Feed


                                                        Interests (Oncall: soap_onboarding_and_feed)
                                                        Interests you've prioritized in your News Feed


                                                      Preferences
                                                      Actions you've taken to customize your experience on Facebook

                                                        Face recognition (Oncall: facer_data)

https://www.internalfb.com/support/dyi/schema/                                                                                     17/18
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                                                         YFISchemaTool

                          1                             Your face recognition settings allow you to choose if you want
                   2
                                                        Facebook to be able to recognize you in photos and videos.

        DYI                                             Language and Locale (Oncall: internationalization)            DYI Only


      Status                                            Live Video                   (Oncall:
                                                        Subscriptions                live_video_platform)             DYI Only
      Generate                                          Scheduled Live videos you've subscribed to

      Schema                                            Facebook Watch (Oncall: watch_server_foundation)
                                                        Videos on Facebook Watch you've chosen to see more or less of
      Stuck Jobs

      Switchboard
                                                    Ads information                                                            2

      Ownership
                                                      Ads information
                                                      Your interactions with ads and advertisers on Facebook

                                                        Payment history (Oncall: b2b_core)
                                                        All previous payments made on the ads payment                 DYI Only
                                                        account.


                                                        Ads account settings (Oncall: ads_prod_infra)
                                                                                                                      DYI Only
                                                        Ads account settings


                                                        Ads account user roles (Oncall: ads_prod_infra)
                                                                                                                      DYI Only
                                                        Valid users for this ad account and their roles.


                                                      Ads information
                                                      Your interactions with ads and advertisers on Facebook

                                                        Advertisers who uploaded a contact list with (Oncall:
                                                        your information                             ad_preferences)
                                                        Advertisers who run ads using a contact list they uploaded that
                                                        includes contact info you shared with them or with one of their data
                                                        partners

                                                        Advertisers using your activity or                 (Oncall:
                                                        information                                        ad_preferences)
                                                        Advertisers can choose to show their ads to certain audiences. You
                                                        may see ads because an advertiser has included you in an audience
                                                        based on a list of information or your interactions with their website,
                                                        app or store. Advertisers can use or upload a list of information that
                                                        we can match to your profile.

                                                        Information you've submitted to (Oncall:
                                                        advertisers                     ad_preferences)
                                                                                                                      DYI Only
                                                        Information you've given to advertisers using a form
                                                        they've provided on Facebook


                                                        Advertisers you've interacted          (Oncall:
                                                        with                                   ads_ranking_features)
                                                        Advertisers whose ads you've clicked on Facebook

                                                        Ad groups (Oncall: ads_api)
                                                                                                                      DYI Only
                                                        Ad group information, statistics, and ad versions.




https://www.internalfb.com/support/dyi/schema/                                                                                     18/18
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          Data Type                                  Included in DYI/Deprecated
Appended Data defined as follows: (1) Data        Included in DYI/Deprecated. For (1),
brokers (partner categories): public records,     “partner categories'' were deprecated in 2018.
auto registration data, supermarket loyalty       For (2) and (3), information about custom
cards, retail purchases (e.g., Walmart), credit   audiences, managed custom audiences, and ad
card purchases (Argus); (2) Advertisers           interactions/pixel data for offline conversion
(custom audiences, offline conversion             measurement is included in DYI.
measurement): Existing customer
relationships, purchase history); and (3) Both
(managed custom audiences, offline
conversion measurement): Customized third-
party data (usually opaque to FB).

Behavioral Data defined as follows: (1) Web       Included in DYI/Deprecated. For (1), (2),
pixels (conversion pixel, website custom          and (3), this information is included in the
audiences). Includes website browsing             DYI file. We note that the reference to
behavior, explicit actions (likes, logins) off    “autofill/payments” is unclear, so we are
FB; (2) Web SDK (like button, FB login)           unable to confirm whether it is in DYI. For
Includes website browsing behavior, explicit      (4), Onavo was deprecated in early 2019 and
actions (likes, logins) off FB; (3) Mobile SDK    any associated data would either have been
(app integrations, app installs, app events,      largely duplicative of app event data received
autofill/payments) Includes mobile apps           through the mobile SDK or was not
installed, explicit actions (likes, logins) off   associated with particular users.
FB; and (4) Onavo. Includes opt-in panel: all
device network activity.

FBX. FB establishes a match table between a Deprecated. FBX was deprecated in 2016.
FB user and a 3P ad server’s cookie. This
enables the 3P to show ads on FB to users that
have visited websites where the 3P has placed
one or their cookies on the user’s browser.
The cookie sync is triggered by the 3P (it calls
a FB endpoint) and is matched against FB’s
FR cookie.

Custom audiences: We allow advertisers to     Included in DYI. See above.
upload lists of their customers to have ads
shown to them on FB. We create custom
audiences today based on email addresses,
phone numbers, FB user IDs, and Apple iOS
IDFAs. We also allow mobile app developers
to create custom audiences based on
information that they have provided to FB via
the FB mobile SDKs.
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FB Mobile SDKs. Developers can choose to              Included in DYI. See above.
send information about how their users
interact with their apps to FB. Developers
can set up “custom app events” within their
app using the FB Mobile SDKs. When a user
does a pre-defined action, developers can
have the FB SDK send each activity to FB.
We log that information to court app installs
and aggregate them for app analytics. By
default, the SDK is set to report installs only
(though the developer can turn this off).
Tracking is done with Apple’s IDFA or with
FB’s SDK attribution ID on Android.

Conversion tracking. Websites can                     Included in DYI. Ad interactions/pixel data
implement a FB pixel that is triggered when           included in DYI.
users land on specific pages. The pixel sends
information from the user’s FR cookie to FB
and we attribute the conversion with a
specific ad.

Website custom audiences. Websites can                Included in DYI. See above.
implement a FB pixel (different from
conversion tracking) that is triggered when
users land on specific pages. The pixel sends
information from the user’s FR cookie to FB.
FB resolves that info back to a specific user
and FB places that user into a custom
audience for that advertiser. Users can opt-
out of this process through a cookie-based
opt-out accessible from the Ads privacy
settings page on FB.

Partner categories. FB partners with select           Deprecated. Partner categories were
data partners and allows that to create custom        deprecated in 2018.
audiences based on their own data. These
custom audiences (called “Partner
Categories”) are then available for use by any
advertiser on FB. Data partners include


partner-specific opt-outs.




                                                  2
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Offline measurement (via partners). FB                 No user-level data. Offline measurement via
works with                           to help           partners does not involve FB receiving user-
advertisers measure the effectiveness of their         level data.
ads at driving in-store sales. FB provides
partners with ad exposure data. Partners then
use in-store sales data provided by retailers to
the data partner to measure the sales lift from
users that saw ads for the products being
advertised.

Offline measurement (directly with FB).        Included in DYI. See above.
Similar to the previous offline measurement
product, except without an intermediary
partner. Advertisers (usually retailers)
provide transaction data directly to FB and we
generate the sales lift reports for the
advertiser.

Argus. FB uses Argus dataset on credit card Does not exist. Facebook terminated its
transactions to build models on buying habits testing of data provided by Argus in 2015.
of certain types of users. We are currently not
using this [in] any production systems.

Other data sets. FB occasionally acquires              No user-level data.
data sets to help inform different user models.
                                                                        User zip codes are included


                        n all cases, none of
                       vel.




                                                   3
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                                   EXHIBIT C



        Below is a summary of the DYI files produced for the current and former named
plaintiffs in this case, that describes the categories of “discoverable user data” in each file
identified by Judge Corley in Discovery Order No. 9: (1) data collected from a user’s on-
platform activity, (2) data obtained from third parties regarding a user’s off-platform activities,
and (3) data inferred from a user’s on or off-platform activity. On (3), DYI includes data that, as
a factual matter, makes use of a user’s on or off-platform activity. Whether that data constitutes
inferred data is a legal question on which we do not take a position for the purpose of trying to
identify data in this category.
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